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                            UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

   DISH NETWORK L.L.C.,                       )      Case No. 6:15-cv-01707-CEM-KRS
                                              )
           Plaintiff,                         )
                                              )
   v.                                         )
                                              )
                                              )
   TV NET SOLUTIONS, LLC, and                 )
   MOHAMMAD MUSTAFA,                          )
                                              )
           Defendants.                        )
                                              /

    Exhibit 1 to Plaintiff’s Motion for Default Judgment and Permanent Injunction against

        Defendants TV Net Solutions, LLC and Mohammad Mustafa filed at Document 22

         REDACTED Settlement Agreement between Defendants TV Net Solutions, LLC and

                         Mohammad Mustafa and Plaintiff DISH Network L.L.C.
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                                      Settlement Agreement

           This Settlement Agreement (the "Agreement") is made effective this;<z day of
    May, 2014 (the "Effective Date") by and among: (1) Plaintiff DISH Network L.L.C.
    ("DISH") and (2) Defendants TV Net Solutions, LLC and Mohammad Mustafa,
    individually (together, "TV Net"). DISH and TV Net are each referred to herein
    separately as a "Party" and together as the "Parties." Co-defendants Global Satellit TP
    TV Scandinavian AB and Basem Halabi are not parties to this Agreement.


          WHEREAS, on October 31, 2012, DISH filed a complaint in the case titled DISH
    Network L.L.C. v. TV Net Solutions, LLC et al., Case No. 6:12-cv-1629-0rl-28TBS (M.D.
    Fla.), and later amended that complaint on December 6, 2013, alleging that TV Net is
    engaged in copyright infringement and unfair competition (the "Litigation").

           WHEREAS, the Parties now desire and intend to conclude and resolve, without
    legal proceedings except as provided herein, the disputes that currently exist between
    them and to reach a settlement as described herein;

           NOW, THEREFORE, in consideration of the mutual covenants contained herein
    and other good and valuable consideration, the receipt and sufficiency of which is hereby
    acknowledged, the Parties agree as follows:

    1.      Permanent Injunction. The Parties will file the pleadings attached as Exhibit 1 in
    the Litigation, which consist of a Stipulation for Entry of Agreed Permanent Injunction
    and Order of Partial Dismissal, and a proposed Agreed Permanent Injunction and Order
    of Partial Dismissal (hereinafter, the "Agreed Permanent Injunction"). The Parties will
    execute the Stipulation for Entry of Agreed Permanent Injunction and Order of Partial
    Dismissal in conjunction with signing this Agreement.

    2.      Payment. TV Net will pay the sum of $5,000,000 to DISH, which TV Net agrees
    is a reasonable amount to resolve the claims asserted by DISH in the Litigation and
    which TV Net will pay as follows:

           (a).    $25,000 by cashier's check or money order, made payable to DISH
    Network L.L.C. and deposited with FedEx within two (2) days of the Effective Date for
    overnight delivery to Hagan Noll & Boyle LLC, Two Memorial City Plaza, 820 Gessner,
    Suite 940, Houston, Texas 77024;

            (b).    $25,000 within 180 days of the Effective Date, which TV Net will pay at
    a rate of no Jess than $8,333.33 every 60 days following the Effective Date until DISH
    receives the full $25,000 from TV Net (the "Bi�Monthly Payment"). Each Bi-Monthly
    Payment will be in the form of a cashier's check or money order, made payable to DISH
    Network L.L.C. and delivered to Hagan Noll & Boyle LLC, Two Memorial City Plaza,
    820 Gessner, Suite 940, Houston, Texas 77024. In the event a Bi-Monthly Payment is
    not received when due, DISH will notify TV Net that the Bi-Monthly Payment was not
    received, such notice to be provided in accordance with paragraph 19, and TV Net will
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    then have ten (10) days from the time that notice is received to make the required
    payment and cure its breach of this Agreement.

            (c).




    3.     Notice & Takedown.

            (a).   Within seven (7) days of receiving a request in writing from DISH or any
    other owner or authorized licensee of rights in a television channel or content
    ("Claimant"), TV Net will cease advertising, broadcasting, distributing, performing, and
    providing any equipment or service that enables access to a channel or content to which
    Claimant holds broadcast, distribution, reproduction, or public performance rights. The
    request will be signed by Claimant or its authorized representative and set forth the basis
    for ownership of the rights asserted by Claimant, which for copyrights Will be no more
    than is required by the Digital Millennium Copyright Act, 17 U.S.C. § 512. If TV Net is
    unable to effectuate removal of the channel or content within seven (7) days of receiving
    a request from Claimant, TV Net has a mandatory obligation under this Agreement and
    hereby agrees that it will immediately cease advertising, broadcasting, distributing,
    performing, and providing any equipment or service used in receiving said channel or
    content, and separately TV Net will disable such equipment and services to the extent it is
    able to do so.

           (b).     DISH agrees to invoke the notice and takedown procedures of this
    paragraph 3 before filing any pleading or scit seeking to hold TV Net in violation of the
    Agreed Permanent Injunction, except that DISH may pursue immediate legal remedies
    against TV Net, including enforcement of the Agreed Permanent Injunction and
    paragraph 2( c) above, if:

                   (i).     TV Net advertises, distributes, broadcasts, perfonns, or provides
    any equipment or service that enables access to the Aghapy TV, Al Arabiya, Al Hayat 1
    also known as Al Hayah 1, Al Hayat Cinema also known as Al Hayah Cinema, Al
    Yawm, Al Ziler, ART America, ART Movies, Dream 2, ESC, Future TV, Hekayat,
    IQRAA, MBC, MBC Drama, MBC Kids also known as MBC3, MBC Masr, Murr TV
    also known as MTV, New TV also known as Al Jadeed, Nile Drama, Noursat, ONTV,
    OTV, or Retana America channel during any period for which DISH owns or holds the
    exclusive right to distribute, broadcast, perform, or provide any of said channels; or

                 (jj).   TV Net advertises, distributes, broadcasts, performs, or provides
    any equipment or service that enables access to any content that has been extracted from
    the Aghapy TV, Al Arabiya, Al Hayat 1 also known as Al Hayah I, Al Hayat Cinema


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     also known as Al Hayah Cinema, Al Yawm, Al Zikr, ART America. ART Movies,
    Dream 2, ESC, Future TV, Hekayat, IQRAA, MDC, MBC Drama, MBC Kids also
    known as MBC3, MBC Masr, Murr TV also known as MTV, New TV also known as Al
    Jadeed, Nile Drama, Noursat, ONTV, OTV, or Rotana America channel during any
    period for which DISH owns or holds the exclusive right to distribute, broadcast,
    perform, or provide any of said content.


    4.        Exiting Business. If TV Net breaches this Agreement or breaches any provision
    in the Agreed Pennanent Injunction, and such breach is not cured by TV Net within ten
    (10) days of receiving notice from DISH, such notice to be provided in accordance with
    paragraph 19, TV Net will: (i) immediately refrain from doing any further business,
    lawful or unlawful, with each and every person or entity that is involved in or otherwise
    responsible for supplying the television and video equipment, service, channel, and
    content that TV Net is offering or providing at the time TV Net breaches this Agreement
    or violates the Agreed Permanent hljunction� and         (ii)   permanently refrain from engaging
    in any business related to the advertising, broadcasting, distributing, perfonning, or
    providing of video services or content.


    5.        Releases.


           (a).    Release by DISH. DISH hereby releases, now and forever, TV Net and
    each of its past, present, and future successors in interest, assigns, parents, subsidiaries,
    affiliates, joint venturers, members, officers, directors, stockholders, attorneys, insurers,
    and underwriters from all claims, causes of actions, liabilities, or damages ("Claims")
    arising out of or relating to any act or event concerning the IPTV or WebTV products or
    services offered by TV Net that occurred on or before the Effective Date. Excluded from
    this release are Global Satellit IP TV Scandinavian AB and Basem Halabi. DISH retains
    all Claims that it may have against Global Satellit IP TV Scandinavian AB and Basem
    Halabi.


              (b ).       Release by TV Net. TV Net hereby releases, now and forever, DISH and
    each of its past, present, and future successors in interest, assigns, parents, subsidiaries,
    affiliates,       joint   venturers, members, officers, directors, stockholders, investigators,
    attorneys, insurers, and underwriters from all Claims arising out of or relating to any act
    or event that occurred on or before the Effective Date.


    6.        Reservation of Rights.        Nothing in this Agreement is intended to be or will be
    construed as a release, waiver, or discharge of: (i) any Claim against TV Net that arises
    out of or relates to this Agreement or the Agreed Permanent Injunction; (ii) DISH's right
    to file, record, and otherwise enforce the amounts due under paragraph 2(c); (iii) DISH's
    right to pursue any Claim against TV Net for conduct that occurred after this Agreement
    is entered; (iv) DISH's right to pursue any Claim against Global Satellit IP TV
    Scandinavian AB, Basem Halabi, or any other person or entity not a party to this
    Agreement; or (v) DISH's right to commence any proceeding expressly permitted by this
    Agreement.




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     7.     Cooperation. For a period of two (2) years from the Effective Date, TV Net will
    fully cooperate with and provide assistance that is requested by DISH in connection with
    any investigation or legal proceeding that pertains to video piracy (the "Cooperation
    Subject Matter"), including the following:

            (a).   TV Net will be debriefed relating to the Cooperation Subject Matter at
    dates, times, and locations in the United States to be coordinated and mutually agreed
    upon by the Parties;

             (b).   TV Net will provide all available information, and produce all documents
    and other materials relating to the Cooperation Subject Matter, wherever located, that are
    in its possession, custody, or control;

           (c).   TV Net will make reasonable efforts to obtain information, documents,
    and other  materials relating to the Cooperation Subject Matter from third parties with
    whom it had previous contact;

            (d).    TV Net will testify in writing under oath in declarations or affidavits
    relating to the Cooperation Subject Matter; and

            (e).   '1V Net will testify orally under oath at deposition, hearing, trial, or in any
    other legal proceeding relating to the Cooperation Subject Matter.

             TV Net will not file any pleading in this Litigation or otherwise participate in any
    way   in this Litigation u nless requested by DISH pursuant to the cooperation provisions in
    this paragraph or unless otherwise required by law.

    8.       Customer Notice. Within five (5) days of the Effective Date, TV Net will make a
    public announcement that is prominently displayed for everyone to see on the main page
    of its website www.tvnetsolutions.com, and in the upper most part of its Facebook page
    which is located at www.facebookcom/arabictvusa. The announcement will specifically
    list the channels that have been removed from the IPTV and WebTV services and state
    that such channels have been removed in accordance with a settlement that TV Net
    entered into with DISH. The announcement will be displayed for a period of at least four
    (4) months and state that customers interested in continuing to receive the channels may
    obtain them directly from DISH, including through its DishWorld service available at
    www.dishworldcom on Roku, iPhone, iPad, Android, Samsung TV, Blu-Ray, Mac, and
    PC.

            In addition, TV Net will update the announcement on its website and Facebook
    page to identify any channel or content that is removed after the Effective Date in
    accordance with the notice and takedown procedures of paragraph 3. The update to the
    announcement will be made within five (5) days of the removal of the channel or content,
    and will be displayed for a period of at least four (4) months. The announcement will
    state that the channel or content was removed at the request of the Claimant providing
    notice under paragraph 3. The announcement will also state on which services or
    platforms the channel or content removed is available, if requested by Claimant in the


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    notice provided to TV Net under paragraph 3. For the avoidance of doubt, TV Net is
    required to provide updated annoWJcements under this paragraph even if the original
    annoWJcement has been removed due to the expiration of the agreed-upon four (4) month
    initial term.

    9.        Confidentiality. TV Net agrees to keep confidential and not disclose the existence
    or content of this Agreement, any terms of sett1ement including the monetary payment, or
    any of the negotiations and discussions that preceded its making, except as foJlows: (i) as
    is necessary to effectuate a term or provision of the settlement including any subsequent
    action to enforce the settlement, except that TV Net will take all reasonable steps to
    maintain the confidentiality of this information including filing documents under seal and
    seeking entry of appropriate protective orders; (ii) to accountants or lawyers for TV Net;
    or (iii) as otherwise required by law.

    10.      Non-Disparagement. TV Net agrees to take no action which is intended, or would
    reasonably be expected, to harm DISH or any of their parents, affiliates, subsidiaries,
    officers, directors, employees, agents or representatives, or their reputations, or which
    would reasonably be expected to lead to W1Wanted or unfavorable publicity to any of the
    foregoing individuals or entities. TV Net further agrees not to make, or cause to be made
    directly or indirectly, any disparaging remarks, comments, or statements, whether in
    person, in print, or online, concerning any of the foregoing individuals or entities. For
    purposes of this provision, "disparaging remarks, comments, or statements" are those that
    impugn the character, honesty, integrity, morality or business acumen or abilities in
    connection with any aspect of the operation of business of the foregoing individuals or
    entities. Notwithstanding, nothing in this paragraph 10 will prohibit TV Net from
    making any statement or disclosure required under the federal securities law or other
    applicable laws, provided, however, that TV Net must provide written notice to DISH at
    least seven (7) days prior to making any such statement or disclosure required under any
    such law that would otherwise be prohibited by this paragraph.

    11.    Press Releases. The Parties agree that DISH may issue one or more press releases
    or other public statements related to the Litigation or this Agreement, including the
    monetary amount of the settlement, in its sole discretion.

    12.     Additional Representations and Warranties.

            (a).   Each Party represents and warrants that it is the sole and lawful owner of
    all claims and rights released in this Agreement, and that it has not heretofore assigned or
    transferred any such claims or rights to any person, corporation, or other entity.

          (b ). Each Party represents and warrants that the individual signing this
    Agreement on its behalf is duly authorized to sign this Agreement on behalf of such
    person or entity.

    13.    Enforcement. In any suit to enforce this Agreement, the prevailing party will be
    entitled to its reasonable attorney's fees, costs and expenses.




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    14.     Entire Agreement.      This Agreement sets forth the entire understanding of the
    Parties with respect to the matters addressed herein and supersedes all prior or
     contemporaneous understandings, representations, or agreements.


    15.     Amendments. This Agreement cannot be amended except by a written instrument
    duly executed by each Party to be bound by such amendment.


    16.    Countemarts. This Agreement may exist in one or more counterparts, and each
    copy of the Agreement that has a signature on it will be deemed an "original." Facsimile
    and electronic signatures have the same force and effect as original ink signatures.


    17.     No Waiver. No failure or delay by either Party in exercising any right, power or
    privilege under this Agreement will operate as a waiver thereat: nor will any single or
    partial exercise of any right, power, or privilege under this Agreement preclude any other
    or further exercise thereof.


    18.    Severabilitv. If any provision of this Agreement is held invalid, illegal or
    unenforceable in any respect, such invalidity, illegality or llllenforceability shall not
    affect any other provision hereof, which shall continue in full force and effect without
    being impaired or invalidated in any way, and, such invalid, illegal or unenforceable
    provision shall be restated by a court of competent jurisdiction to reflect as nearly as
    possible the original intentions of the Parties in accordance with applicable law.


    19.     Notices. All notices or requests required or permitted to be given pursuant to this
    Agreement will be given in writing and will be sent by facsimile transmission; first-class
    certified mail, postage prepaid; or by overnight courier service, charges prepaid, to the
    Party to be notified, addressed to such Party at the address or fax number set forth below,
    or such other address or fax number as such Party may have substituted by written notice
    (given in accordance with this paragraph) to the other Party. The sending of such notice
    with confirmation of receipt of the complete transmission (in the case of facsimile
    transmission) or receipt of such notice (in the case of delivery by first-class certified mail
    or by overnight courier service) will constitute the giving thereof.


    If to be given to TV Net Solutions,                Ifto be given to DISH Network
    LLC or Mohammad Mustafa:                           L.L.C.:
    Attn: Mohamma d Mustafa                           Attn: General Counsel


    Ifby overnight courier service:                   Ifby overnight courier service:
    3491 West Vine Street                              9601 South Meridian Blvd.
    Kissimmee, Florida34741                            Englewood, Colorado 80 I I 2


    Alternatively by overnight courier:
    c/o Zimmer, Kiser & Sutcliffe, P.A.
    Attn.: Kevin P. Robinson, Esq.
    315 East Robinson Street, Ste. 600
    Orlando, Florida 32801




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      lfbyfirst-class certified mail:                     Ifbyfirst-class certified mail:
      3491 West Vine Street                               P.O. Box. 6663
      Kissimmee. Florida 34741                            Englewood, Colorado 80155

      Alternatively 17y,first-class certffied mail:
      clo Zimmer, Kiser & Sutcliffe, P.A.
      Attn.: Kevin P. Robinson, Esq.
      315 East Robinson Street, Ste. 600
      Orlando, Florida 32801

      Ifbyfacsimile:                                      Ifbyfacsimile:
      Fax#: 407.425.2747                                  Fax#: 303.723.2050

      With copy to:                                       With copy to:
      Zimmer, Kiser & Sutcliffe, P .A                     Hagan Noll & Boyle LLC
      Attn.: Kevin P. Robinson, Esq.                      Attn.: Joseph H. Boyle, Esq.
      315 East Robinson Street. Ste. 600                  820 Gessner, Suite 940
      Orlando, Florida 32801                              Houston, Texas 77024
      Telephone: 407.425.7010                             Telephone: 713.343.0478
      Fax; 407.425.2747                                   Fax: 713.758.0146

              IN WITNESS WHEREOF, the Parties have executed this Agreement by their
      duly authorized representatives as of the day and year first above written.



      TV Net Solutions, LLC

                                                          --  -




      By:
      lVlohanunadlviustafa
      Chief Executive Officer




     Mohammad Mustafa

                                                             ------·




     B:
     Mohammad Mustafa
     Jn His Individual Capacity




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     DISH Network L.L.C.




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    Brett Kitei ::::::=::==
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    Senior Corporate Counsel & Director
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                                  CERTIFICATE OF SERVICE

           I hereby certify that on January 19, 2016, I electronically filed the foregoing with the

    Clerk of the Court. I further certify that I mailed both the foregoing document and the notice

    of electronic filing, and a copy of the un-redacted version, by certified mail to the following

    non-CM/ECF participant:


    TV Net Solutions, LLC and Mohammad Mustafa
    4939 Dunmore Lane
    Kissimmee, FL 34746


                                                 By: /s/ Christopher P. Craven
                                                 Christopher P. Craven (pro hac vice)
                                                 christopher.craven@hnbllc.com
                                                 HAGAN NOLL & BOYLE LLC
                                                 Two Memorial City Plaza
                                                 820 Gessner, Suite 940
                                                 Houston, Texas 77024
                                                 Telephone: (713) 343-0478
                                                 Facsimile: (713) 758-0146

                                                 Attorney for Plaintiff DISH Network L.L.C.
